DEFENDANTS’
 EXHIBIT B
                          Days from Complaint to Scheduled Trial in Department of Justice Merger Challenges

The cases below represent merger trials brought by the Department of Justice since 2011 where a trial date was set. This table does not
include mergers where the government filed a complaint and the parties entered a consent decree without setting a trial date or
challenges to mergers that had already closed and thus lacked the exigencies as here. (United States v. BazaarVoice, Inc.,
3:13-cv-00133 (N.D.Cal.) and United States v. Twin America, LLC, 12-cv-8989 (S.D.N.Y)).

                                                  Merger Litigation Timing Precedent 1

                       Complaint     Scheduled        Judgment or    Complaint to
          Case                                                                                               Notes
                         Filed       Trial Date      Dismissal Date Scheduled Trial
    United States v.   05/23/2011    09/06/2011      Opinion Issued         106 days      ●​ The parties jointly proposed the September
    HR Block, Inc.,                                   10/31/2011          (~3.5 months)      6 preliminary injunction hearing date (ECF
    1:11-cv-00948                                                                            30).
    (D.D.C)
    United States v.   08/13/2013    11/25/2013      Parties Settled        104 days      ●​ Defendants proposed a November 12, 2013
    US Airways                                            Post            (~3.5 months)      trial date (ECF 10). DOJ proposed that the
    Group, Inc.,                                     Complaint, PFJ                          trial begin February 10, 2014 or after (ECF
    1:13-cv-01236                                         Filed                              10). Proposed Final Judgement was
    (D.D.C.)                                          11/12/2013                             entered on November 12, 2013, with trial
                                                                                             scheduled to begin November 25, 2013
                                                                                             (ECF 56).
    United States v    11/03/2014    04/13/2015        Abandoned            161 days      ●​ DOJ proposed a March 16, 2015 trial date,
    National                                            Pre-Trial         (~5.4 months)      while Defendants proposed a March 30,
    CineMedia, Inc.,                                   03/16/2015                            2015 trial date (ECF 28). The court
    1:14-cv-08732                                                                            ordered trial to begin April 13, 2015 (ECF
    (S.D.N.Y)                                                                                34).
                                                                                          ●​ Defendants abandoned the transaction
                                                                                             roughly a month before trial.


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    Blue highlighting indicates cases included in DOJ’s Appendix D (ECF 51-005).

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                                                 Merger Litigation Timing Precedent 1

                       Complaint    Scheduled        Judgment or    Complaint to
          Case                                                                                              Notes
                         Filed      Trial Date      Dismissal Date Scheduled Trial
    United States v.   07/01/2015   11/09/2015        Abandoned            131 days      ●​ Parties jointly proposed a trial date of
    AB Electrolux,                                     Mid-Trial         (~4.4 months)      November 2, 2015 or as soon thereafter as
    1:15-cv-01039                                     12/07/2015                            the court’s schedule permits (ECF 28).
    (D.D.C)                                                                                 Trial began November 9, 2015. Defendants
                                                                                            abandoned the transaction mid-trial.2
    United States v.   08/31/2016   06/05/2017        Abandoned            278 days      ●​ Parties jointly proposed a February 13,
    Deere & Co.,                                      05/01/2017         (~9.3 months)      2017 trial date (ECF 44). Later, a
    1:16-cv-08515                                                                           continuance was sought by defendants due
    (N.D. Ill).                                                                             to withdrawal of lead trial counsel, which
                                                                                            ultimately resulted in a June 5, 2017 trial
                                                                                            date (ECF 152). Defendants abandoned the
                                                                                            transaction roughly one month before trial.
    United States v.   07/21/2016   11/21/2016      Opinion Issued         123 days      ●​ DOJ proposed a trial date of January 9,
    Anthem, Inc.,                                    02/08/2017          (~4.1 months)      2017, while Defendants proposed a trial
    1:16-cv-01493                                                                           date of November 1, 2016 (ECF 61). The
    (D.D.C)                                          Affirmed on                            court ordered trial to begin November 21,
                                                       Appeal                               2016 and conclude by December 30, 2016
                                                     04/28/2017                             (ECF 68).




2
 DOJ Press Release, Electrolux and General Electric Abandon Anticompetitive Appliance Transaction After Four-Week Trial (Dec. 7,
2015),
https://www.justice.gov/archives/opa/pr/electrolux-and-general-electric-abandon-anticompetitive-appliance-transaction-after-four-wee
k.


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                                             Merger Litigation Timing Precedent 1

                   Complaint    Scheduled        Judgment or    Complaint to
      Case                                                                                              Notes
                     Filed      Trial Date      Dismissal Date Scheduled Trial
United States v.   07/21/2016   12/05/2016      Opinion Issued         137 days      ●​ Parties jointly proposed a December 5,
Aetna Inc.,                                      01/23/2017          (~4.6 months)      2016 trial date (ECF 51-1 and 52-1). The
1:16-cv-01494                                                                           court ordered trial to begin December 5,
(D.D.C)                                                                                 2016 and end December 21, 2016 (ECF
                                                                                        55).
United States v    11/16/2016   04/24/2017      Opinion Issued         159 days      ●​ Parties jointly proposed that trial begin
Energy                                           06/21/2017          (~5.3 months)      April 4, 2017 or as soon thereafter as the
Solutions, Inc.,                                                                        court’s schedule permits (ECF 38-1). Trial
1:16-cv-01056                                                                           began April 24, 2017.
(D. Del.)
United States v.   11/20/2017   03/22/2018      Opinion Issued         122 days      ●​ DOJ proposed a May 7, 2018 trial date
AT&T / Time                                      06/12/2018          (~4 months)        (ECF 25-1).
Warner,                                                                              ●​ Defendants proposed a trial date on or after
1:17-cv-02511                                                                           February 20, 2018 (ECF 29).
(D.D.C)                                                                              ●​ Trial set March 19, 2018 based on court’s
                                                                                        docket (ECF 35 at 9:6-16).
                                                                                     ●​ Trial ultimately began on March 22, 2018.
United States v.   06/20/2019   11/14/2019        Abandoned            147 days      ●​ DOJ requested a November 12, 2019 trial
Quad Graphics                                     07/23/2019         (~4.9 months)      date (ECF 39). Defendants requested an
Inc.,                                                                                   October 1, 2019 trial date (ECF 37).
1:19-cv-04153                                                                        ●​ The court set the trial for November 14,
(N. D. Il).                                                                             2019 (ECF 46).
United States v.   08/20/2019   01/27/2020      Opinion Issued         160 days      ●​ Parties jointly proposed a January 27, 2020
Sabre Corp.,                                     04/07/2020          (~5.3 months)      trial date, which the court adopted (ECF
1:19-cv-01548                                                                           31).
(D. Del.)




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                                             Merger Litigation Timing Precedent 1

                   Complaint    Scheduled        Judgment or    Complaint to
      Case                                                                                              Notes
                     Filed      Trial Date      Dismissal Date Scheduled Trial
United States v.   11/05/2020   06/28/2021        Abandoned            235 days      ●​ DOJ alleged a monopolization claim under
Visa Inc.,                                        01/12/2021         (~7.8 months)      Section 2 of the Sherman Act in addition to
3:20-cv-07810                                                                           a Section 7 Clayton Act claim (ECF 43).
(N.D. Cal.)                                                                             DOJ requested additional time given the
                                                                                        monopolization claim, the pandemic’s
                                                                                        impact on third-party discovery, and the
                                                                                        DOJ’s curtailed pre-complaint discovery
                                                                                        (ECF 43).
                                                                                     ●​ Defendants abandoned the transaction in
                                                                                        January 2021.
United States v.   06/16/2021   11/18/2021        Abandoned            155 days      ●​ Defendants proposed August 23, 2021 trial
Aon plc,                                          07/26/2021         (~5.2 months)      date (ECF 34).
1:21-cv-01633                                                                        ●​ The court ordered trial to begin November
(D.D.C.)                                                                                18, 2021 (ECF 46).
                                                                                     ●​ Defendants abandoned the transaction on
                                                                                        July 26, 2021.
United States v.   11/02/2021   08/01/2022      Opinion Issued         272 days      ●​ The parties jointly proposed an August 1,
Bertelsmann SE                                   10/31/2022          (~9.1 months)      2022 trial date (ECF 46).
& Co. KGaA,                                                                          ●​ The court ordered trial to begin August 1,
1:21-cv-02886                                                                           2022 (ECF 53).
(D.D.C.)
United States v.   11/23/2021   04/18/2022      Opinion Issued         146 days      ●​ The parties jointly proposed an April 11,
United States                                    09/23/2022          (~4.9 months)      2022 trial date (ECF 58).
Sugar Corp.,                                                                         ●​ The court ordered trial to begin April 11,
1:21-cv-01644                                                                           2022 (ECF 70).
(D. Del.)                                                                            ●​ Trial ultimately began April 18, 2022 (ECF
                                                                                        159).


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                                             Merger Litigation Timing Precedent 1

                   Complaint    Scheduled        Judgment or    Complaint to
      Case                                                                                               Notes
                     Filed      Trial Date      Dismissal Date Scheduled Trial
United States v.   02/24/2022   08/01/2022      Opinion Issued         158 days      ●​ Defendants proposed a June 20, 2022 trial
UnitedHealth                                     09/19/2022          (~5.3 months)      (ECF 27; ECF 27-1 at 2-3).
Group,                                                                               ●​ Plaintiffs proposed an August 24, 2022
1:22-cv-00481                                                                           trial (ECF 34 at 2; ECF 34-2).
(D.D.C.)                                                                             ●​ The court set a trial date of August 1, 2022
                                                                                        (ECF 42).
United States v.   03/17/2022   10/04/2022        Abandoned            201 days      ●​ Plaintiffs sought a trial date of October 4,
Grupo Verzatec                                    05/26/2022         (~6.7 months)      2022, while Defendants sought a trial date
S.A. de C.V.,                                                                           of August 22, 2022 (ECF 32). The merger
1:22-cv-01401                                                                           termination date was November 16, 2022
(N.D. Ill.)                                                                             (ECF 32 at 9).
                                                                                     ●​ The court adopted the plaintiff’s proposal
                                                                                        (ECF 38) and the defendants abandoned
                                                                                        the transaction on May 26, 2022.

United States v.   06/29/2022   09/15/2022      Order Denying           78 days      ●​ The parties jointly proposed a preliminary
Booz Allen                                            PI             (~2.6 months)      injunction hearing date of September
Hamilton Inc.,                                   10/11/2022                             15-16, 2022, which the court adopted (ECF
22-cv-1603 (D.                                                                          99).
Md.)




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                                                 Merger Litigation Timing Precedent 1

                       Complaint    Scheduled        Judgment or    Complaint to
          Case                                                                                                Notes
                         Filed      Trial Date      Dismissal Date Scheduled Trial
    United States v.   09/15/2022   04/24/2023      Parties Settled         221 days      ●​ The parties jointly proposed an April 17,
    ASSA ABLOY                                      Mid-Trial, PFJ        (~7.4 months)      2023 trial date (ECF 38).
    AB,                                                  filed                            ●​ Court ordered trial to begin April 17, 2023
    1:22-cv-02791                                    05/05/2023                              (ECF 46).
    (D.D.C.)                                                                              ●​ Trial was pushed back one week due to an
                                                                                             extension of Defendants’ reply expert
                                                                                             report deadline (ECF 105).
                                                                                          ●​ The parties settled partway through trial on
                                                                                             May 5, 2023.3
                                                                                          ●​ Case involved a dispute over the adequacy
                                                                                             of defendants' proposed remedy package.4
                                                                                          ●​ Original merger termination date not
                                                                                             publicly available; the termination date
                                                                                             was renegotiated and pushed back to June
                                                                                             30, 2023.5




3
 DOJ Press Release, Justice Department Reaches Settlement in Suit to Block ASSA ABLOY’s Proposed Acquisition of Spectrum
Brands’ Hardware and Home Improvement Division (May 5, 2023),
https://www.justice.gov/archives/opa/pr/justice-department-reaches-settlement-suit-block-assa-abloy-s-proposed-acquisition-spectrum.
4
 Bryan Koenig, Law360, Why Sue First, Assess Remedy Later? Assa Abloy Judge Asks (Oct. 28, 2022),
https://www.law360.com/articles/1544686/why-sue-first-assess-remedy-later-assa-abloy-judge-asks.
5
 ASSA ABLOY, Update on Timing of ASSA ABLOY´s Acquisition of the Hardware and Home Improvement (“HHI”) Division of
Spectrum Brands (Jul. 15, 2022), https://www.assaabloy.com/group/en/news-media/press-releases/id.a099b84f42122383.

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                                             Merger Litigation Timing Precedent 1

                   Complaint    Scheduled        Judgment or    Complaint to
     Case                                                                                                Notes
                     Filed      Trial Date      Dismissal Date Scheduled Trial
United States v.   03/07/2023   10/31/2023      Opinion Issued            238        ●​ DOJ acknowledged the merger termination
JetBlue Airways                                   1/16/2024          (~7.6 months)      date in this case was “considerably longer
Corp.,                                                                                  than the vast majority of merger cases that
1:23-cv-10511                                                                           are brought, and that removes the source of
(D. Mass.)                                                                              exigency that often results in merger trials
                                                                                        occurring fairly close after the filing of the
                                                                                        complaint.” (ECF 67 at 10:3-10).
                                                                                     ●​ DOJ argued that it needed additional time
                                                                                        to conduct discovery because ongoing
                                                                                        related litigation could impact JetBlue’s
                                                                                        business strategies and because JetBlue
                                                                                        was involved in ongoing negotiations with
                                                                                        potential divestiture buyers (U.S. v.
                                                                                        American Airlines Group 1:21-cv-11558
                                                                                        (D. Mass.) (ECF 67 at 10-12).
                                                                                     ●​ The court made clear that a September date
                                                                                        would not be feasible because the court
                                                                                        had a criminal trial in September (ECF 67
                                                                                        at 14:5-14).
                                                                                     ●​ The parties jointly proposed the October
                                                                                        16, 2023 trial date (ECF 77-1).
                                                                                     ●​ Trial ultimately began on October 31, 2023
                                                                                        (ECF 307).




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                                                  Merger Litigation Timing Precedent 1

                        Complaint    Scheduled        Judgment or    Complaint to
          Case                                                                                              Notes
                          Filed      Trial Date      Dismissal Date Scheduled Trial
    United States v.    01/10/2025   09/08/2025           N/A             241 days       ●​ Defendants sought a May 27, 2025 trial
    Global Business                                                     (~8 months)         date, while DOJ sought a September trial
    Travel Group,                                                                           date (ECF 17).
    Inc.,                                                                                ●​ The court set a trial date of September 8,
    1:25-cv-00215                                                                           2025, given that one defendant had not yet
    (S.D.N.Y.)                                                                              answered the complaint and the existence
                                                                                            of various pre-trial disputes (ECF 19 at 4).
    United States. v.   11/12/2024   10/27/2025           N/A             349 days       ●​ Defendants sought an August 18, 2025 trial
    UnitedHealth                                                       (~11.6 months)       date, while DOJ sought an October 27,
    Group Inc.,                                                                             2025 trial date (ECF 72-1).
    1:24-cv-03267                                                                        ●​ The court tentatively scheduled trial to
    (D. Md.)                                                                                begin October 27, 2025 (ECF 108).
                                                                                         ●​ In addition to asserting a Section 7 claim,
                                                                                            the complaint also seeks civil penalties for
                                                                                            violations of the HSR Act.6
                                                                                         ●​ The defendants’ proposed divestitures are a
                                                                                            central issue in the case.7


6
 DOJ Press Release, Justice Department Sues to Block UnitedHealth Group’s Acquisition of Home Health and Hospice Provider
Amedisys (November 12, 2024), Office of Public Affairs | Justice Department Sues to Block UnitedHealth Group’s Acquisition of
Home Health and Hospice Provider Amedisys | United States Department of Justice.
7
 See Leah Nylen, Bloomberg News, UnitedHealth, Amedisys to Face October Antitrust Trial on Deal (Feb. 20, 2025),
https://news.bloomberglaw.com/us-law-week/unitedhealth-amedisys-to-face-october-antitrust-trial-on-deal; see also ECF 1 at ¶¶ 10-11
(“Recognizing the illegal and anticompetitive impact of the proposed merger, Defendants propose to divest assets in hundreds of
separate markets to VitalCaring Group (‘VitalCaring’). The proposed divestiture, however, will not eliminate the threat to competition
presented by the merger.”).

                                                                   8
